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y 15 US v. LaVon Dobie
General Docket

United States Court of Appeals for the Fourth Circuit

Court of Appeals Docket #: 07-4115

US v. LaVon Dobie

Appeal From: United States District Court for the District of Maryland at Greenbelt
Fee Status: cja

Docketed: 01/25/2007

Case Type Information:
1) Criminal
2) Criminal — Conviction
3) null

Originating Court Information:
District: 0416-8 :_8:04-cr—00235-RWT
Court Reporter: Kathy Chiarizia, Court Reporter Coordinator
Court Reporter: Tracy Dunlap, Official Court Reporter
Court Reporter: Sharon O'Neill, Official Court Reporter
Court Reporter: Gloria Williams, Official Court Reporter
Presiding Judge: Roger W. Titus, U. S. District Court Judge

Date Filed: 05/05/2004
Date Order/Judgment EOD: Date NOA Filed:
01/08/2007 01/08/2007

Prior Cases:

Date Filed: 03/24/2005 Date Disposed: 07/27/2005 Disposition: order

Current Cases:

Lead Member Start End
Consolidated
01/31/2007
01/31/2007
d 07-4060 01/31/2007
07-4059 07-4062 01/31/2007
07-4059 07-4063 01/31/2007
07-4059 07-4080 . 01/31/2007
07-4059 07-4115 01/31/2007
Related
06-4391 07-4059 01/31/2007

Docket as of 06/19/2009 11:26:03 AM page 1 of 14

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